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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                         DISTRICT COURT CASE NUMBER:
 IN RE KIMBERLY MARTIN−BRAGG
                                                             2:22−cv−04454−PA

                                            DEBTOR(S) BANKRUPTCY COURT CASE NUMBER:

                                                             2:16−bk−22878−BR
IVAN RENE MOORE
                                                         ADVERSARY CASE NUMBER:
                                        APPELLANT(S)
                                                             N/A
      v.

KIMBERLY MARTIN−BRAGG
                                                                       NOTICE RE:
                                         APPELLEE(S).          BANKRUPTCY RECORD COMPLETE



     Please be advised that this Court has received from the Clerk of the Bankruptcy Court either the record for
the above-captioned appeal or notice that the record is available electronically. This Notice Re: Bankruptcy
Record Complete constitutes your notice, pursuant to Federal Rule of Bankruptcy Procedure 8010(b)(3), that
the record has been received by the District Court. The date of filing of this Notice Re: Bankruptcy Record
Complete constitutes the starting date for the calculation of all deadlines pursuant to Federal Rule of
Bankruptcy Procedure 8018, and, if applicable, Federal Rule of Bankruptcy Procedure 8016.

      Briefs must comply with the requirements of Federal Rules of Bankruptcy Procedure 8014, 8015, 8016,
and 8018. Briefs must contain as addenda all excerpts of the record and all transcripts previously designated by
the filing party. No brief shall refer to a portion of the transcript that is not included in said addendum. Page
limits exclude the table of contents, table of citations, and any addendum containing statutes, rules, regulations,
excerpts of the record, or similar material.

     Unless exempted by the Court’s local rules, all briefs must be e-filed using the District Court’s CM/ECF
System. Unless otherwise ordered by the Court, pro se litigants shall continue to present all documents to the
Clerk for filing in paper format. Documents received by the Clerk from pro se litigants will be scanned by the
Clerk into the CM/ECF System.

      Once briefing is complete, the Courtroom Deputy Clerk of the District Judge who is assigned the appeal
will notify counsel when the matter is to be argued and heard, or that no oral argument will be permitted. If, for
any reason, such notice has not been received within 30 days after the last brief is filed, counsel should contact
that Courtroom Deputy Clerk for further instructions.


                                                        Clerk, U.S. District Court

July 28, 2022                                           By /s/ Alison Bandek
Date                                                      Deputy Clerk



  CC: Bankruptcy Court Judge


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